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United States Attorney

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§§torhe§e for Plaintiff
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f SOUTHERN

UNITED STATES OF AMERICA,
Plaintiff,
v.
MICHAEL R. DROBOT,

Defendant.

 

 

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l. This constitutes the plea

and the United

DROBOT (“defendant”)

Central District of California (the
case. This agreement is limited to
other federal, State,

administrative,

277513)
Special ASSiStant United States Attorney

UNITED STATES DISTRICT

DEC l 020|5

 

 

 

CENTRAL D|STR|CT OF CAL|FOHNIA
BY DEF'UTY

 

 

 

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COURT

' FOR THE CENTRAL DISTRICT OF CALIFORNIA

DI“`°’S”ACRi§-ool§§

NO. SA CR 15-

PLEA AGREEMENT FOR DEFENDANT
MICHAEL R. DROBOT

agreement between MICHAEL R.
States Attorney'$ Office for the
“USAO”) in the above-captioned

the USAO and cannot bind any

local, or foreign prosecuting, enforcement,

or regulatory authorities.

 

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1 DEFENDANT’S OBLIGATIONS
2 2. Defendant agrees to:
3 a. Give up the _ight to indictment by a grand jury and,

4 at the earliest opportunity requested by the USAO and provided by the
5 Court, appear and plead guilty to a two-count information in the form
6 attached to this agreement as Exhibit A or a substantially similar
7 form, which charges defendant with Conspiracy, in violation of 18
8 U.S.C. § 371, and Payment of Kickbacks in Connection with a Federal
9 Health Care Program, in violation of 42 U.S.C. § 1320a-7b(b)(2)(A).
10 b. Not contest facts agreed to in this agreement.
11 c. Abide by all agreements regarding sentencing contained
12 in this agreement.
13 d. Appear for all court appearances, surrender as ordered
14 for service of sentence, obey all conditions of any bond, and obey
15 any other ongoing court order in this matter.
16 e. Not commit any crime; however, offenses that would be
17 excluded for Sentencing purposes under United States Sentencing
18 Guidelines (“U.S.S.G.” or “Sentencing Guidelines”) § 4A1.2(c) are not
19 within the scope of this agreement.
20 f. Be truthful at all times with Pretrial Services, the
21 United States Probation Office, and the Court.
22 g. Pay the applicable special assessments at or before
23 the time of sentencing unless defendant lacks the ability to pay and
24 prior to sentencing submits a completed financial statement on a form
25 to be provided by the USAO.
26 3. Defendant further agrees:
27 a. Truthfully to disclose to law enforcement officials,
28 at a date and time to be set by the USAO, the location of,

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Case 8:15-cr-OOl55-.]LS Document 8 Filed 12/10/15 Page 3 of 45 Page |D #:24

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2 defendant about, all monies, properties, and/or assets of any kind,
3 derived from or acquired as a result of, or used to facilitate the

commission of, defendant’s illegal activities, and to forfeit all

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right, title, and interest in and to such items.

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b. To the Court’s entry of an order of forfeiture at or

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7 before sentencing with respect to these assets and to the forfeiture

8 of the assets.

9 c. 2 To take whatever steps are necessary to pass to the
10 United States clear title to the assets described above, including,
11 without limitation, the execution of a consent decree of forfeiture
12 and the completing of any other legal documents required for the
13 transfer of title to the United States.

14 d. Not to contest any administrative forfeiture

15 proceedings or civil judicial proceedings commenced by the United
16 States of America against these properties.

17 e. Not to assist any other individual in any effort

18 falsely to contest the forfeiture of the assets described above.

defendant's ownership interest in, and all other information known to

19 f. Not to claim that reasonable cause to seize the assets

 

20 was lacking.

21 g. To prevent the transfer, sale, destruction, or loss of

22 any and all assets described above to the extent defendant has the

23 ability to do so.

ill out and deliver to the USAO a completed

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24 h. To
25 financial statement listing defendant’s assets on a form provided by
26 the USAO.
27 4. Defendant further agrees to cooperate fully with the USAO,
28 the Federal Bureau of lnvestigation, the United States Postal

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Case 8:15-cr-OOl55-.]LS Document 8 Filed 12/10/15 Page 4 of 45 Page |D #:25

Inspection Service - Office of the Inspector General, the Internal
Revenue Service, and, as directed by the USAO, any other federal,
state, local, or foreign prosecuting, enforcement, administrative, or
regulatory authority. This cooperation requires defendant to:

a. Respond truthfully and completely to all questions
that may be put to defendant, whether in interviews, before a grand
jury, or at any trial or other court proceeding.

b. Attend all meetings, grand jury sessions, trials or
other proceedings at which defendant’s presence is requested by the
USAO or compelled by subpoena or court order.

c. Produce voluntarily all documents, records, or other
tangible evidence relating to matters about which the USAO, or its
designee, inquires.

5. For purposes of this agreement: (1) “Cooperation
Information” shall mean any statements made, or documents, records,
tangible evidence, or other information provided, by defendant
pursuant to defendant’s cooperation under this agreement; and
(2) “Plea Information” shall mean any statements made by defendant,
under oath, at the guilty plea hearing and the agreed to factual
basis statement in this agreement.

THE USAO’S OBLIGATIONS

6. The USAO agrees to:
a. Not contest facts agreed to in this agreement.
b. Abide by all agreements regarding sentencing contained

in this agreement.

c. At the time of sentencing, provided that defendant
demonstrates an acceptance of responsibility for the offenses up to
and including the time of sentencing, recommend a two-level reduction

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in the applicable Sentencing Guidelines offense level, pursuant to
U.S.S.G. § 3E1.l, and recommend and, if necessary, move for an
additional one-level reduction if available under that section.

d. Recommend that defendant be sentenced to a term of
imprisonment no higher than the low end of the applicable Sentencing

Court

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Guidelines range, provided that the offense level use by th

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to determine that range is 31 or higher and provided that
does not depart downward in offense level or criminal history

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category. For purposes of this agreement, tne low end of the
Sentencing Guidelines range is that defined by the Sentencing Table
in U.S.S.G. Chapter 5, Part A.

e. Except for criminal tax violations (including
conspiracy to commit such violations chargeable under 18 U.S.C.
§ 371), not further criminally prosecute defendant for violations
arising out of defendant’s conduct described in the agreed-to factual
basis set forth in paragraph 22 below. Defendant understands that
the USAO is free to criminally prosecute defendant for any other
unlawful past conduct or any unlawful conduct that occurs after the
date of this agreement. Defendant agrees that at the time of
sentencing the Court may consider the uncharged conduct in
determining the applicable Sentencing Guidelines range, the propriety
and extent of any departure from that range, and the sentence to be
imposed after consideration of the Sentencing Guidelines and all
other relevant factors under 18 U.S.C. § 3553(a).
f. The parties further understand that the Fraud Section
of the Civil Division of the United States Department of Justice has

d that should defendant enter a guilty plea pursuant to

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this agreement, it has no present intention to pursue civil action

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against defendant arising out of defendant’s conduct described in the
agreed-to factual basis set forth in paragraph 22 below (“factual
basis”). The parties further understand that the California
Department of lnsurance has represented that it does not intend to
refer conduct described in the factual basis to California state
prosecutorial agencies, on its own initiative, for additional
criminal prosecution. lf a prosecutorial agency requests information
regarding the California Department of Insurance’s investigation of
facts or circumstances related to the factual basis, the California
Department of lnsurance will cooperate with that prosecutorial agency
and present any evidence in its possession. Defendant, however,
understands that neither the Fraud Section of the Civil Division of
the Department of Justice or the California Department of lnsurance
is bound by this agreement, and their decision to forego such action
is not a condition of this agreement.

7. The USAO further agrees:

a. Not to offer as evidence in its case-in-chief in the
above-captioned case or any other criminal prosecution that may be
brought against defendant by the USAO, or in connection with any
sentencing proceeding in any criminal case that may be brought
against defendant by the USAO, any Cooperation Information.

Defendant agrees, however, that the USAO may use both Cooperation
Information and Plea lnformation: (1) to obtain and pursue leads to

other evidence, which evidence may be used for any purpose, including

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any crimi al prosecution of defendant; (2) to cross-examine defendant

slould defendant testify, or to rebut any evidence offered, or

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argument or representation made, by defendant, defendant’s counsel,
or a witness called by defendant in any trial, sentencing hearing, or

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Case 8:15-cr-OOl55-.]LS Document 8 Filed 12/10/15 Page 7 of 45 Page |D #:28

other court proceeding; and (3) in any criminal prosecution of
defendant for false statement, obstr ction of justice, or perjury.

b. Not to use Cooperation lnformation against defendant
at sentencing for the purpose of determining the applicable guideline
range, including the appropriateness of an upward departure, or the
sentence to be imposed, and to recommend to the Court that
Cooperation lnformation not be used in determining the applicable
guideline range or the sentence to be imposed. Defendant
understands, however, that Cooperation lnformation will be disclosed
to the probation office and the Court, and that the Court may use
Cooperation Information for the purposes set forth in U.S.S.G.

§ 1B1.8(b) and for determining the sentence to be imposed.

c. In connection with defendant’s sentencing, to bring to
the Court's attention the nature and extent of defendant’s
cooperation.

d. lf the USAO determines, in its exclusive judgment,
that defendant has both complied with defendant’s obligations under
paragraphs 2 and 3 above and provided substantial assistance to law
enforcement in the prosecution or investigation of another
(“substantial assistance”), to move the Court pursuant to U.S.S.G.

§ 5K1.1 to fix an offense level and corresponding guideline range
below that otherwise dictated by the sentencing guidelines, and to
recommend a term of imprisonment within this reduced range,

DEFENDANT’S UNDERSTANDINGS REGARDING COOPERATION

8. Defendant understands the following:
a. Any knowingly false or misleading statement by

defendant will subject defendant to prosecution for false statement,

 

 

 

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obstruction of justice, and perjury and will constitute a breach by
defendant of this agreement.

b. Nothing in this agreement requires the USAO or any
other prosecuting, enforcement, administrative, or regulatory
authority to accept any cooperation or assistance that defendant may
offer, or to use it in any particular way.

c. Defendant cannot withdraw defendant’s guilty pleas if
the USAO does not make a motion pursuant to U.S.S.G. § 5K1.1 for a
reduced guideline range or if the USAO makes such a motion and the
Court does not grant it or if the Court grants such a USAO motion but
elects to sentence above the reduced range,

d. At this time the USAO makes no agreement or
representation as to whether any cooperation that defendant has
provided or intends to provide constitutes or will constitute
substantial assistance. The decision whether defendant has provided
substantial assistance will rest solely within the exclusive judgment
of the USAO.

e. The USAO’s determination whether defendant has
provided substantial assistance will not depend in any way on whether
the government prevails at any trial or court hearing in which
defendant testifies or in which the government otherwise presents
information resulting from defendant’s cooperation.

NATURE OF THE OFFENSES
9. Defendant understands that for defendant to be guilty of
the crime charged in count one, that is, Conspiracy, in violation of
Title 18, United States Code, Section 371, the following must be
true: (1) Beginning no later than in or around 2007, and continuing
to in or around November 2013, there was an agreement between two or

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1 or kickback in exchange for medical services; (3) a medical

2 professional person owed a fiduciary duty to the patient; (4) the

3 defendant acted with the intent to defraud by depriving the patient
4 of his or her right of honest services; (5) the defendant’s act was
5 material, that is, it had a natural tendency to influence, or was

6 capable of influencing, a person’s acts; and (6) the defendant used,
7 or caused someone to use, the mails to carry out or attempt to carry

8 out the scheme or plan.

9 12. Defendant further understands that Interstate Travel in Aid

10 of a Racketeering Enterprise, in violation of Title 18, United States

11 Codey Section 1952(a)(3), has the following elements: (1) defendant

12 used the mail or a facility of interstate commerce with the intent to

13 promote, manage, establish, or carry on, or facilitate the promotion,
14 management, establishment, or carrying on, of unlawful activity,
15 specifically payment and receipt of kickbacks in violation of

16 California Business & Professions Code § 650, California lnsurance
17 Code § 750, and California Labor Code § 3215; and (2) after doing so,
18 defendant performed or attempted to perform an act to promote,
19 manage, establish, or carry on, or facilitate the promotion,
20 management, establishment, or carrying on, of such unlawful activity.
21 13. Defendant understands that Money Laundering, in violation

22 of Title 18, United States Code, Section 1957, has the following

23 elements: (1) the defendant knowingly engaged or attempted to engage
24 in a monetary transaction; (2) the defendant knew the transaction
25 involved criminally derived property; (3) the property had a value

26 greater than $10,000; (4) the property was, in fact, derived from
27 mail fraud; and (5) the transaction occurred in the United States.

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Ca?e 8:15-cr-00155-.]LS Document 8 Filed 12/10/15 Page 10 of 45 Page |D #:31

more persons to commit Mail Fraud and Honest Services Mail Fraud, in
violation of Title 18, United States Code, Sections 1341 and 1346,
Interstate Travel in Aid of a Racketeering Enterprise, in violation
of Title 18, United States Code, Section 1952(a)(3), Monetary
Transactions in Property Derived from Specified Unlawful Activity, in
violation of Title 18, United States Code, Section 1957, and Payment
or Receipt of Kickbacks in Connection with a Federal Health Care
Program, in violation of Title 42, United States Code, Section 1320a-
7b(b)(2)(A); (2) defendant became a member of the conspiracy knowing
of at least one of its objects and intending to help accomplish it;
and (3) one of the members of the conspiracy performed at least one
overt act for the purpose of carrying out the conspiracy.

10. Defendant understands that Mail Fraud, in violation of
Title 18, United States Code, Section 1341, has the following
elements: (1) the defendant knowingly devised or participated in a
scheme or plan to defraud, or a scheme or plan for obtaining money or
property by means of false or fraudulent pretenses, representations
or promises; (2) the statements made or facts omitted as part of the
scheme were material, that is, they had a natural tendency to
influence, or were capable of influencing, a person to part with
money or property; (3) the defendant acted with the intent to
defraud; and (4) the defendant used, or caused to be used, the mails
to carry out or attempt to carry out an essential part of the scheme.

11. Defendant further understands that Honest Services Mail
Fraud, in violation of Title 18, United States Code, Sections 1341
and 1346, has the following elements: (1) the defendant devised or

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participated in a scheme or plan to deprive a patient of his or ner
right to honest services; (2) the scheme or plan consisted of a bribe

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Se 8:15-cr-00155-.]LS Document 8 Filed 12/10/15 Page 11 of 45 Page |D #:32

14, Defendant further understands that for defendant to be
guilty of the crime charged in count two of the information, that is,
Payment of Kickbacks in Connection with a Federal Health Care
Program, in violation of Title 42, United States Code, Section l320a~
7b(b)(2)(A), the following must be true: (1) defendant knowingly and
willfully paid remuneration, directly or indirectly, in cash or in
kind, to another person; (2) the remuneration was given to induce
that person to refer an individual for the furnishing or arranging
for the furnishing of any item or service for which payment may be
made in whole or in part under a Federal health care program; and (3)
defendant knew that such payment of remuneration was illegal.

PENALTIES AND RESTITUTION

15. Defendant understands that the statutory maximum sentence
that the Court can impose for a violation of Title 18, united States
Code, Section 371, is: 5 years imprisonment; a 3-year period of
supervised release; a fine of $250,000 or twice the gross gain or
gross loss resulting from the offense, whichever is greatest; and a
mandatory special assessment of $100.

16. Defendant understands that the statutory maximum sentence
that the Court can impose for a violation of Title 42, United States
Code, Section lBZOa~7b(b)(2)(A), is: 5 years imprisonment; a 3~year
period of supervised release; a fine of 3250,000 or twice the gross
gain or gross loss resulting from the offense, whichever is greatest;
and a mandatory special assessment of 3100.

17. Defendant understands, therefore, that the total maximum
sentence for all offenses to which defendant is pleading guilty is:
10 years imprisonment; a 3~year period of supervised release; a fine
of $500,000 or twice the gross gain or gross loss resulting from the

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Case 8:15-cr-00155-.]LS Document 8 Filed 12/10/15 Page 12 of 45 Page |D #:33

offenses, whichever is greatest; and a mandatory special assessment
of $200.

18, Defendant understands that supervised release is a period
of time following imprisonment during which defendant will be subject
to various restrictions and reguirements. Defendant understands that
if defendant violates one or more of the conditions of any supervisedv
release imposed, defendant may be returned to prison for all or part
of the term of supervised release authorized by statute for the
offense that resulted in the term of supervised release, which could
result in defendant serving a total term of imprisonment greater than
the statutory maximum stated above.

19. Defendant understands that, by pleading guilty, defendant
may be giving up valuable government benefits and valuable civic
rights, such as the right to vote, the right to possess a firearm,
the right to hold office, and the right to serve on a jury,

Defendant understands that once the court accepts defendant’s guilty
plea, it will be a federal felony for defendant to possess a firearm
or ammunition. Defendant understands that the conviction in this
case may also subject defendant to various other collateral
consequences, including but not limited to revocation of probation,
parole, or supervised release in another case and suspension or
revocation of a professional license. Defendant understands that
unanticipated collateral consequences will not serve as grounds to
withdraw defendant’s guilty plea.

20. Defendant understands that, il defendant is not a United

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nis case may subject

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States citizen, the felony conviction in
defendant to: removal, also known as deportation, which may, under
some circumstances, be mandatory; denial of citizenship; and denial

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Case 8:15-cr-00155-.]LS Document 8 Filed 12/10/15 Page 13 of 45 Page |D #:34

1 of admission to the United States in the future. The court cannot,

2 and defendant’s attorney also may not be able to, advise defendant

3 fully regarding the immigration consequences of the felony conviction
4 in this case. Defendant understands that unexpected immigration

5 consequences will not serve as grounds to withdraw defendant’s guilty
5 plea.

7 21. Defendant understands that defendant will be required to

8 pay full restitution to the victims of the offenses to which

9 defendant is pleading guilty. Defendant agrees that, in return for
10 the USAO’s compliance with its obligations under this agreement, the
11 Court may order restitution to persons other than the victims of the
12 offenses to which defendant is pleading guilty and in amounts greater
13 than those alleged in the counts to which defendant is pleading
14 guilty. ln particular, defendant agrees that the Court may order
15 restitution to any victim of any of the following for any losses
16 suffered by that victim as a result: (a) any relevant conduct, as
17 defined in U.S.S.G. § 181.3, in connection with the offenses to which
18 defendant is pleading guilty; and (b) any charges not prosecuted

19 pursuant to this agreement as well as all relevant conduct, as
20 defined in U.S.S.G. § 181.3, in connection with those counts and
21 charges. The parties have not come to an agreement on the amount of

22 restitution.

23 FACTUAL BASIS
24 22. Defendant admits that defendant is, in fact, guilty of the

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25 offenses to which defendant is agreeing to plead gui ty. Defendant
26 and the USAO agree to the statement of facts provided below and agree
27 that this statement of facts is sufficient to support pleas of guilty

28 to the charges described in this agreement and to establish the

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Sentencing Guidelines factors set forth in paragraph 24 below but is
not meant to be a complete recitation of all facts relevant to the
underlying criminal conduct or all facts known to either party that
relate to that conduct.

Pacific Hospital of Long Beach (“Pacific Hospital”) was a
hospital located in Long Beach, California, specializing in
surgeries, particularly spinal and orthopedic surgeries. From at
least in or around 1997 to 0ctober 2013, Pacific Hospital was owned
and/or operated by Michael D. Drobot (“Drobot Senior”). Drobot
Senior also owned and/or operated Pacific Specialty Physician
Management, Inc. (“PSPM”), a physician practice management company,
and two companies that managed in~house pharmaceutical dispensary
programs on behalf of doctors: California Pharmacy Management LLC
(“CPM”) and lndustrial Pharmacy Management LLC (“lPM”) {collectively,
the “Dispensary Management Companies”). Beginning in or around 2003,
defendant operated CPM under the direction of Drobot Senior, with CPM
ceasing operations around 2007. From 2007 to 2010, defendant and
Drobot Senior together owned, and defendant operated, IPM. From 2010
to at least November 2013, defendant was the majority owner of IPM,
and controlled and directed its operations.

A. The Hospital Kickback Scheme

Beginning no later than 2001 and continuing through in or around
November 2013, Drobot Senior, along with others working for Pacific
Hospital, the Dispensary Companies, PSPM, and related companies,
conspired with dozens of doctors, chiropractors, marketers, and
others to pay kickbacks in return for those persons to refer

thousands of patients to Paci ic Hospital for spinal surgeries and

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other medical services paid for primarily through the Federal

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Employees’ Compensation Act (“FECA”) and the California Workers’
Compensation System (“CWCS”). In paying the kickbacks and submitting
the resulting claims for spinal surgeries and medical services,
including through the mails, the conspirators acted with the intent
to defraud workers’ compensation insurance carriers and to deprive
the patients of their right of honest services. in particular, the
conspirators knew that by paying kickbacks to doctors and
chiropractors who treated workers’ compensation patients, they were
inducing the provision of spinal surgeries and other medical services
which could be paid for by a Federal health care program.

Beginning no later than in or around 2007 and continuing to in
or around 2013, in Orange and Los Angeles Counties, within the
Central District of California, and elsewhere, defendant, together
with other co~conspirators known and unknown to the United States
Attorney, knowingly combined, conspired, and agreed to commit the
following offenses against the United States in connection with the
above-described hospital kickback scheme: Mail Fraud and Honest
Services Mail Fraud, in violation of Title 18, United States Code,
Sections 1341 and 1346, Interstate Travel in Aid of a Racketeering
Enterprise, in violation of Title 18, United States Code, Section
1952(a)(3), Monetary Transactions in Property Derived from Specified
Unlawful Activity, in violation of Title 18, United States Code,
Section 1957, and Payment or Receipt of Kickbacks in Connection with
a Federal Health Care Program, in violation of Title 42, United
States Code, Section 1320a~7b(b)(2)(A).

As defendant knew, the hospital kickback scheme operated as
follows: Drobot Senior and other co~conspirators offered to pay
kickbacks to doctors, chiropractors, marketers, and others (the

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Case 8:15-cr-00155-.]LS Document 8 Filed 12/10/15 Page 16 of 45 Page |D #:37

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“kickback recipients”) in return for their referring workers’
compensation patients to Pacific Hospital for spinal surgeries, other
types of surgeries, magnetic resonance imaging, toxicology, durable
medical eguipment, and other services which would be paid through
FBCA and the CWCS. As of approximately 2009, for spinal surgeries,
kickback recipients were typically paid $15,000 per lumbar fusion
surgery and $10,000 per cervical fusion surgery, provided that the
surgeon used in the surgery hardware supplied by a specified
distributor.

Influenced by the promise of kickbacks, the kickback recipients
referred patients insured through the CWCS and the FECA to Pacific
Hospital for spinal surgeries, other types of surgeries, and other
medical services. ln some cases, the patients lived dozens or
hindreds of miles from Pacific Hospital, and closer to other
qualified medical facilities. The workers’ compensation patients
were not informed that the medical professionals had been offered
kickbacks to induce them to refer the surgeries to Pacific Hospital.

Defendant knew that it was illegal to pay or receive kickbacks
for the referral of patients for medical services. Defendant also
knew that the insurance carriers would be unwilling to pay claims for
medical services that were obtained through such illegal kickbacks.
However, as defendant knew, his co~conspirators deliberately did not
disclose to the insurance carriers the kickback payments.

Further, as defendant knew, to conceal the illegal kickback
payments from the workers’ compensation insurance carriers and
patients, defendant’s co~conspirators entered into bogus contracts
under which the kickback recipients purported to provide services to
Drobot Senior’s companies to justify the kickback payments. The

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Case 8:15-cr-00155-.]LS Document 8 Filed 12/10/15 Page 17 of 45 Page |D #:38

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services and other items of value discussed in those contracts were,
in fact, generally not provided to pacific Hospital or the other
companies, or were provided at highly inflated prices. The
compensation to the kickback recipients was actually based on the
number and type of surgeries they referred to the hospital. These
contracts included, among others, the following: collection
agreements, option agreements, research and development agreements,
lease and rental agreements, marketing agreements, and management
agreements. Defendant learned the details of the hospital kickback
scheme by, among other means, participating in weekly executive
management meetings with Drobot Senior and other co~conspirators, in
which the conspirators discussed the details and status of the
kickback agreements with various doctors, chiropractors, and
marketers.

Defendant’s primary role in the conspiracy involved his
operation of the Dispensary Management Companies. ln or around 2003,
defendant became the chief operating officer (“COO”) of CPM, acting
under the direction of Drobot Senior. CPM managed pharmaceutical
dispensaries located in doctors' and chiropractors' offices, which
dispensed medication to those doctors' and chiropractors’ patients.
The conspirators used CPM as a vehicle to pay certain doctors and
chiropractors kickbacks for referring patients to Pacific Hospital
for spine surgeries and other services, and used the CPM dispensary
management contracts to cover up the true nature of the kickback
payments. When IPM was formed in or about 2005, the conspirators
used it in a similar manner.

After he became the COO of CPM, defendant learned that Drobot

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Senior and his co~conspirators were using CPM to facilitate the

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Case 8:15-cr-00155-.]LS Document 8 Filed 12/10/15 Page 18 of 45 Page |D #:39

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kickback arrangements. Beginning in or around 2005, defendant
himself began directly soliciting doctors and chiropractors to enter
into contracts with CPM. ln a number of cases, defendant discussed
with the doctors and chiropractors their interest in receiving
kickbacks in exchange for referring patients to Pacific Hospital for
spinal surgeries, and he introduced them to Drobot Senior to
negotiate the details of the arrangements.

In some cases, beginning in or around 2007, defendant also acted
as a liaison between certain kickback recipients on the one hand and
Drobot Senior and the other co-conspirators on the other hand. For
example, when kickback recipients complained to defendant that Drobot
Senior and other co-conspirators were not paying kickbacks on time as
agreed, and threatened both to stop referring patients to Pacific
Hospital and to terminate their relationship with the Dispensary
Management Companies, defendant interceded to encourage the co~
conspirators to make the payments and to resolve the dispute. ln
other cases, when certain kickback recipients did not refer as many
patients to Pacific Hospital as the conspirators had expected,
defendant encouraged the kickback recipients to increase their rate
of referrals. Defendant also worked with other co-conspirators to
track the number of referrals from certain kickback recipients, to
ensure they were given proper credit for those referrals. ln
addition, defendant worked with certain kickback recipients to
arrange for them to refer patients to certain surgeons, who in turn
had agreed to perform surgery on those patients at Pacific Hospital.

After defendant became the majority owner of IPM in August 2010
and assumed control of the company, he continued to coordinate with
certain kickback recipients to ensure that they continued referring

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Case 8:15-cr-00155-.]LS Document 8 Filed 12/10/15 Page 19 of 45 Page |D #:40

patients to Pacific Hospital and that, in return, Drobot Senior and
his co~conspirators continued to pay kickbacks, in some cases through
IFM.

B. The Dispensary Management Companies

The Dispensary Management Companies contracted with doctors and
chiropractors to manage in~house pharmaceutical dispensaries located
in doctors' and chiropractors’ offices. Under the terms of many of
the contracts entered into by the parties, the doctor received either
the net monthly collections of the dispensary after paying to the
Dispensary Management Companies a percentage~based management fee, or
a fixed monthly amount secured by the dispensary’s future
collections. The contracts typically provided that the Dispensary
Management Companies would advance nearly all costs associated with
the dispensary, including if necessary, the purchase of prescription
drugs, and the salaries of pharmacy technicians who staffed the
dispensary, with the doctors ultimately responsible for any
shortfalls if the amounts collected were less than the amounts
advanced.

In practice, and as defendant sometimes promised the doctors,
the Dispensary Management Companies would not require doctors to
repay any shortfalls, to the extent any such shortfalls occurred.

The doctors were often advanced a certain minimum monthly payment,
and were required to do little more than write prescriptions meant to
be filled at the dispensary. Thus, some doctors who entered into
contracts with the Dispens:ry Management Companies assumed little, if

l risk related to the in*house dispensary.

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n the event that collections from an in~house dispensary

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dropped below the amount anticipated by the Dispensary Management

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Case 8:15-cr-00155-.]LS Document 8 Filed 12/10/15 Page 20 of 45 Page |D #:41

l Companies, defendant or others from the Dispensary Management
2 Companies would, at times, encourage doctors to cause more patients
3 to fill prescriptions at the doctor’s dispensary, or to cause

4 patients to fill more profitable prescriptions at the doctor’s

5 dispensary. lf collections did not increase, the guaranteed monthly
6 payment to that doctor would be reduced in some cases, or the

7 doctor’s contract would be terminated in other cases.

8 In some instances, the Dispensary Management Companies

9 influenced doctors to make available in the dispensary, and to
10 prescribe to appropriate patients, specific medications that were
ll promoted by the Dispensary Management Companies based on the
12 anticipated profit generated when those medications were prescribed

13 to worker’s compensation patients. This was accomplished through

14 several mechanisms, including by contractual language (in the case of

15 Surgeon D), by emphasizing the higher reimbursement rate associated

16 with a particular medication versus an alternative, or by offering to

17 increase or maintain a doctor’s guaranteed monthly payment,

18 With respect to at least two doctors, defendant attempted to
19 leverage the referral of potential spinal surgery patients for the
20 benefit of the Dispensary Management Companies, either by

21 guaranteeing those referrals in return for a doctor’s agreement to
22 engage the Dispensary Management Companies, or by threatening to

23 withdraw those referrals if the doctor terminated his contract with
24 the Dispensary Management Companies.

25 ln those instances where defendant operated the Dispensary

26 Management Companies in the means identified above, defendant

intended to incentivize and reward doctors for writing prescriptions

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28 to patients that would be filled in the doctors' in-house pharmacy.

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Case 8:15-cr-00155-.]LS Document 8 Filed 12/10/15 Page 21 of 45 Page |D #:42

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Finally, on a number of occasions, defendant improperly induced
doctors who contracted with the Dispensary Management Companies to
use ancillary products and services offered by defendant, Medi~Lab
Corporation (“Medi-Lab”), or companies affiliated with defendant.
Those ancillary products and services included toxicology, magnetic
resonance imaging, and Lanx spinal hardware (in the case of Medical
Practice A located in Elmhurst, lllinois), none of which had any
relation to the in~house dispensary program. Defendant induced the
ancillary referrals either by increasing the guaranteed monthly
payment for doctors with dispensary accounts in good standing, or by
agreeing to maintain the existing guaranteed monthly payment for
doctors whose guaranteed monthly payment amount was not commensurate
with actual collection amounts. ln return for referrals to Medi~Lab,
defendant received a monthly payment from Medi~Lab designed, at least
in part, to reimburse defendant for the kickback payments he had made
to induce referrals to Medi-Lab.

In furtherance of the conspiracy and to accomplish the objects
of the conspiracy, defendant and other co~conspirators committed
various overt acts within the Central District of California,
including but not limited to the following:

Overt Act No. 1

In or around March 2008, after Drobot Senior caused IPM to pay
$60,000 to Surgeon A as a kickback for spinal surgeries Surgeon A
performed at Pacific Hospital, defendant sought reimbursement for lPM
from PSPM for the kickback payment made by IPM.

Overt Act No. 2

On or about May 12, 2008, Drobot Senior caused IPM to pay
$35,000 to Chiropractor A, of which $18,000 represented a kickback

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Case 8:15-cr-00155-.]LS Document 8 Filed 12/10/15 Page 22 of 45 Page |D #:43

for spinal surgeries performed at Pacific Hospital on patients
referred by Chiropractor A.

Overt Act No. 3

On or about July 29, 2008, defendant sent an email message to
Executive A requesting a $G0,000 payment from Pacific Hospital to IPM
as reimbursement for kickbacks paid by IPM for spinal surgeries
performed at Pacific Hospital, including $18,000 IPM had paid to
Chiropractor A in kickbacks.

Overt Act No. 4

On or about March 10, 2009, defendant advised Executive B that
Surgeon B was estimated to perform three to four spinal surgeries per
month at Pacific Hospital on patients referred to Surgeon B by Dr.
Philip Sobol, which referrals were caused by kickbacks paid to Dr.
Philip Sobol.

Overt Act No. 5

On or about June 15, 2011, defendant received an email message
from Pacific Hospital CFO James Canedo listing spinal surgeries
performed by, among others, Surgeon C, Surgeon D, and Surgeon E,
which were referred to Pacific Hospital by Dr. Philip Sobol, as a
result of kickbacks paid to Dr. Philip Sobol.

Overt Act No. 6

On or about April 30, 2012, defendant caused lPM to pay $155,000
to Surgeon F, of which $30,000 represented a kickback for spinal
surgeries performed at Pacific Hospital, either by Surgeon F or by
surgeons to whom Surgeon F referred surgical candidates.

Overt Act No._l

On or about May 24, 2012, defendant caused IPM to pay $140,000
to Dr. Philip Sobol, of which 560,000 represented a kickback for

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Case 8:15-cr-OOl55-.]LS Document 8 Filed 12/10/15 Page 23 of 45 Page |D #:44

1 spinal surgeries performed at Pacific Hospital, either by Dr. Philip
2 Sobol or by surgeons to whom Dr. Philip Sobol referred surgical

3 candidates.

4 Overt Act No. 8
5 On or about July 2, 2012, Drobot Senior caused PSPM to pay

$23,706.80 to Surgeon B for performing surgeries at Pacific Hospital

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7 and for referring surgical candidates to Surgeon G for spinal
8 surgeries at Pacific Hospital, including on patients covered by the

9 FECA and CWCS.

10 SENTENCING FACTORS
11 23. Defendant understands that in determining defendant’s

12 sentence the Court is required to calculate the applicable Sentencing

13 Guidelines range and to consider that range, possible departures

14 under the Sentencing Guidelines, and the other sentencing factors set

15 forth in 18 U.S.C. § 3553(a). Defendant understands that the
16 Sentencing Guidelines are advisory only, that defendant cannot have
`17 any expectation of receiving a sentence within the calculated

18 Sentencing Guidelines range, and that after considering the

19 Sentencing Guidelines and the other § 3553(a) factors, the Court will

20 be free to exercise its discretion to impose any sentence it finds
21 appropriate up to the maximum set by statute for the crimes of

22 conviction.

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24. Defendant and the USAO agree to the following applicable

Sentencing Guidelines factors:

[U.S.S.G. § 2B1.1(a)(2)]

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Base Offense Level:

Specific Offense
Characteristics

Loss between
$2OM to $50M: +22 [U.S.S.G. § 281.1(b)(1)(L)]

More than 10 victims: +2 [U.S.S.G, § ZBl.l(b)(Z)(B)]
Federal health care

offense with gov’t
program loss of

between $1M~$7M: +2 [U.S.S.G. § 2Bl.1(b)(7)]
Adjustments
Aggravating Role: +2 [U.S.S.G. § 3Bl.l(a)]
Acceptance of
Responsibility: ~3 [U.S.S.G. § 3E1.1]
Iptalz 31
25. The USAO will agree to a two~level downward adjustment for

acceptance of responsibility (and, if applicable, move for an
additional one-level downward adjustment under U.S.S.G. § 381.1(b))
only if the conditions set forth in paragraph 6(c)) are met. Subject
to paragraph 7 above and paragraph 37 below, defendant and the USAO
agree not to seek, argue, or suggest in any way, either orally or in
writing, that any other specific offense characteristics,
adjustments, or departures relating to the offense level be imposed.
Defendant agrees, however, that if, after signing this agreement but
prior to sentencing, defendant were to commit an act, or the USAO
were to discover a previously undiscovered act committed by defendant
prior to signing this agreement, which act, in the judgment of the

USAC, constituted obstruction of justice within the meaning of

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Case 8:15-cr-OOl55-.]LS Document 8 Filed 12/10/15 Page 25 of 45 Page |D #:46

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U.S.S.G. § 3C1.1, the USAO would be free to seek the enhancement set
forth in that section.

26. Defendant understands that there is no agreement as to
defendant’s criminal history or c-iminal history category.

27. Defendant and the USAO reserve the right to argue for a
sentence outside the sentencing range established by the Sentencing
Guidelines based on the factors set forth in 18 U.S.C. § 3553(a)(1),
(a)(Z), (a)(3), (a)(€), and (31(7).

WAIVER OF CONSTITUTIONAL RIGHTS
28. Defendant understands that by pleading guilty, defendant

gives up the following rights:

a. The right to persist in a plea of not guilty.
b. The right to a speedy and public trial by jury.
c. The right to be represented by counsel ~ and if

necessary have the court appoint counsel ~ at trial. Defendant
understands, however, that, defendant retains the right to be
represented by counsel - and if necessary have the court appoint
counsel - at every other stage of the proceeding.

d. The right to be presumed innocent and to have the
burden of proof placed on the government to prove defendant guilty
beyond a reasonable doubt.

e. The right to confront and cross-examine witnesses

against defendant.

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The right to testify and to present evidence in
opposition to the cnarges, including the right to compel the

attendance of witnesses to testify.

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Case 8:15-cr-OOl55-.]LS Document 8 Filed 12/10/15 Page 26 of 45 Page |D #:47

g. The right not to be compelled to testify, and, if
defendant chose not to testify or present evidence, to have that
choice not be used against defendant.

h. Any and all rights to pursue any affirmative defenses,
Fourth Amendment or Fifth nmendment claims, and other pretrial
motions that have been filed or could be filed.

WAIVER OF APPEAL OF CONVICTION

29. Defendant understands that, with the exception of an appeal
based on a Claim that defendant’s guilty pleas were involuntary, by
pleading guilty defendant is waiving and giving up any right to
appeal defendant’s convictions on the offenses to which defendant is
pleading guilty.

LIMITED MUTUAL WAIVER OF APPEAL OF SENTENCE

30. Defendant agrees that, provided the Court imposes a total
term of imprisonment on all counts of conviction of no more than the
low end of the Guidelines range corresponding to a total offense
level of 31 and the criminal history category determined by the
Court, defendant gives up the right to appeal all of the following:
(a) the procedures and calculations used to determine and impose any
portion of the sentence; (b) the term of imprisonment imposed by the
Court; (c) the fine imposed by the court, provided it is within the
statutory maximum; (dl the amount and terms of any restitution order,
provided it requires payment of no more than $20 million; (e) the
term of probation or supervised release imposed by the Court,
provided it is within the statutory maximum; and (f) any of the
following conditions of probation or supervised release imposed by
the Court: the conditions set forth in General Orders 318, 01-05,
and/or 05-02 of this Court; the drug testing conditions mandated by

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Case 8:15-cr-00155-.]LS Document 8 Filed 12/10/15 Page 27 of 45 Page |D #:48

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18 U.S.C. §§ 3563(a)(5) and 3583(d); and the alcohol and drug use
conditions authorized by 18 U.S.C. § 3563(b)(7).

31. The USAO agrees that, provided (a) all portions of the
sentence are at or below the statutory maximum specified above and
(b) the Court imposes a term of imprisonment of no less than the low
end of the Guidelines range corresponding to an offense level of 31
and the criminal history category determined by the Court, the USAO
gives up its right to appeal any portion of the sentence, with the
exception that the USAO reserves the right to appeal the amount of
restitution ordered if that amount is less than $20 million.

RESULT OF WITHDRAWAL OF GUILTY PLEA

32. Defendant agrees that if, after entering guilty pleas
pursuant to this agreement, defendant seeks to withdraw and succeeds
in withdrawing defendant’s guilty pleas on any basis other than a
claim and finding that entry into this plea agreement was
involuntary, then (a) the USAO will be relieved of all of its
obligations under this agreement, including in particular its
obligations regarding the use of Cooperation Information; (b) in any
investigation, criminal prosecution, or civil, administrative, or
regulatory action, defendant agrees that any Cooperation information
and any evidence derived from any Cooperation Information shall be
admissible against defendant, and defendant will not assert, and
hereby waives and gives up, any claim under the United States
Constitution, any statute, or any federal rule, that any Cooperation
lnformation or any evidence derived from any Cooperation Information
should be suppressed or is inadmissible; and (c) should the USAO
choose to pursue any charge or any civil, administrative, or
regulatory action that was either dismissed or not filed as a result

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Case 8:15-cr-00155-.]LS Document 8 Filed 12/10/15 Page 28 of 45 Page |D #:49

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of this agreement, then (i) any applicable statute of limitations
will be tolled between the date of defendant’s signing of this
agreement and the filing commencing any such action; and
(ii) defendant waives and gives up all defenses based on the statute
of limitations, any claim of pre‘indictment delay, or any speedy
trial claim with respect to any such action, except to the extent
that such defenses existed as of the date of defendant’s signing this
agreement,
EFFECTIVE DATE OF AGREEMENT

33. This agreement is effective upon signature and execution of
all required certifications by defendant, defendant’s counsel, and an
Assistant United States Attorney.

BREACH OF AGREEMENT

34. Defendant agrees that if defendant, at any time after the
signature of this agreement and execution of all required
certifications by defendant, defendant’s counsel, and an Assistant
United States Attorney, knowingly violates or fails to perform any of
defendant’s obligations under this agreement (“a breach”), the USAO
may declare this agreement breached. For example, if defendant
knowingly, in an interview, before a grand jury, or at trial, falsely
accuses another person of criminal conduct or falsely minimizes
defendant’s own role, or the role of another, in criminal conduct,
defendant will have breached this agreement, All of defendant’s
obligations are material, a single breach of this agreement is
sufficient for the USAO to declare a breach, and defendant shall not

b deemed to have cured a breach without the express agreement of the

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USAO in writing. If the USAO declares this agreement breached, and
the Court finds such a breach to have occurred, then:

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Ca§e 8:15-cr-00155-.]LS Document 8 Filed 12/10/15 Page 29 of 45 Page |D #:50

1 a. lf defendant has previously entered guilty pleas
2 pursuant to this agreement, defendant will not be able to withdraw

3 the guilty pleas.

4 b. The USAO will be relieved of all its obligations under

5 this agreement; in particular, the USAO: (i) will no longer be bound
6 by any agreements concerning sentencing and will be free to seek any
7 sentence up to the statutory maximum for the crimes to which

8 defendant has pleaded guilty; (ii) will no longer be bound by any
9 agreements regarding criminal prosecution, and will be free to
10 criminally prosecute defendant for any crime, including charges that
11 the USAO would otherwise have been obligated not to criminally
12 prosecute pursuant to this agreement; and (iii) will no longer be

13 bound by any agreement regarding the use of Cooperation Information

14 and will be free to use any Cooperation Information in any way in any

15 investigation, criminal prosecution, or civil, administrative, or

16 regulatory action,

17 c. The USAO will be free to criminally prosecute

18 defendant for false statement, obstruction of justice, and perjury
19 based on any knowingly false or misleading statement by defendant,
20 d. In any investigation, criminal prosecution, or civil,
21 administrative, or regulatory action: (i) defendant will not assert,
22 and hereby waives and gives up, any claim that any Cooperation

23 Information was obtained in violation of the Fifth Amendment

24 privilege against compelled self-incrimination; and (ii) defendant
25 agrees that any Cooperation Information and any Plea Information, as
26 well as any evidence derived from any Cooperation Information or any
27 Plea lnformation, shall be admissible against defendant, and
28 defendant will not assert, and hereby waives and gives up, any claim

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Case 8:15-cr-OOl55-.]LS Document 8 Filed 12/10/15 Page 30 of 45 Page |D #:51

under the United States Constitution, any statute, Rule 410 of the
Federal Rules of Evidence, Rule ll(f) of the Federal Rules of
Criminal Procedure, or any other federal rule, that any Cooperation
lnformation, any Plea Information, or any evidence derived from any
Cooperation lnformation or any Plea lnformation should be suppressed
or is inadmissible.

35. Following the Court’s finding of a knowing breach of this
agreement by defendant, should the USAO choose to pursue any charge
or any civil, administrative, or regulatory action that was either
dismissed or not filed as a result of this agreement, then:

a. Defendant agrees that any applicable statute of
limitations is tolled between the date of defendant’s signing of this
agreement and the filing commencing any such action,

b. Defendant waives and gives up all defenses based on
the statute of limitations, any claim of pre~indictment delay, or any
speedy trial claim with respect to any such action, except to the
extent that such defenses existed as of the date of defendant’s
signing this agreement.

COURT AND PROBATION OFFICE NOT PARTIES

36. Defendant understands that the Court and the United States
Probation Office are not parties to this agreement and need not
accept any of the USAO’s sentencing recommendations or the parties’
agreements to facts or sentencing factors.

37. Defendant understands that both defendant and the USAO are
free to: (a) supplement the facts by supplying relevant information
to the United States Probation Office and the Court, and (b) correct
any and all factual misstatements relating to the Court’s Sentencing
Guidelines calculations and determination of sentence. While this

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paragraph permits both the USAO and defendant to submit full and
complete factual information to the United States Probation Office
and the Court, even if that factual information may be viewed as
inconsistent with the facts agreed to in this agreement, this
paragraph does not affect defendant’s and the USAO’s obligations not
to contest the facts agreed to in this agreement,

38. Defendant understands that even if the Court ignores any
sentencing recommendation, finds facts or reaches conclusions
different from those agreed to, and/or imposes any sentence up to the
maximum established by statute, defendant cannot, for that reason,

withdraw defendant’s guilty pleas, and defendant will remain bound to

fulfill all defendant’s obligations under this agreement. Defendant
understands that no one -~ not the prosecutor, defendant’s attorney,
or the Court -~ can make a binding prediction or promise regarding

the sentence defendant will receive, except that it will be within
the statutory maximum.
NO ADDITIONAL AGREEMENTS

39. Defendant understands that, except as set forth herein,
there are no promises, understandings, or agreements between the USAO
and defendant or defendant’s attorney, and that no additional
promise, understanding, or agreement may be entered into unless in a
writing signed by all parties or on the record in court.
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Case 8:15-cr-OOl55-.]LS Document 8 Filed 12/10/15 Page 32 of 45 Page |D #:53

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Case 8:15-cr-00155-.]LS Document 8 Filed 12/10/15 Page 34 of 45 Page |D #:55

 

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Case 8:15-cr-OOl55-.]LS Document 8 Filed 12/10/15 Page 35 of 45 Page |D #:56

Exhibit A

Case 8:15-cr-OOl55-.]LS Document 8 Filed 12/10/15 Page 36 of 45 Page |D #:57

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UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA
SOUTHERN DIVISION

UNITED STATES OF AMERICA, SA CR No. 15-

PMMHH, irre§raiier
v. [18 U.S.C. § 371: Conspiracy; 42
U.S.C. § l320a~7b(b)(2)(A):
MICHAEL R. DROBOT, Payment of Kickbacks in Connection
with a Federal Health Care
Defendant. 1 Program]

 

 

 

Tne United States Attorney charges:
COUNT ONE
[18 U.S.C. § 371]

A. RELEVANT PERSONS AND ENTITIES

At all times relevant to this lnformation:

l. Pacific Hospital of Long Beach (“Pacific Hospital”) was a
hospital located in Long Beach, California, specializing in
surgeries, particularly spinal and orthopedic surgeries. From at

least in or around 1997 to in or around November 2013, Pacific

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ospital was owned and/or operated by Michael D. Drobot (“Drobot

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enior”), defendant MICHAEL R. DROBOT’s {“defendant DROBOT”) father.

 

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Case 8:15-cr-OOl55-.]LS Document 8 Filed 12/10/15 Page 37 of 45 Page |D #:58

2. California Pharmacy Management, Inc. (“CPM”) was a
corporation formed and owned by Drobot Senior. CPM contracted with
doctors to manage doctors' in~house pharmaceutical dispensaries,
providing such services as logistical, billing, and collection
services on behalf of the in-house pharmacies. From 2003 to 2007,
defendant DRGBOT operated and/or controlled CPM along with Drobot
Senior.

3. lndustrial Pharmacy Management LLC (“IPM,” and collectively
with CPM, the “Dispensary Management Companies”), was a limited
liability company formed in 2006 by Drobot Senior. Like CPM, IPM
also contracted with doctors to manage doctors' in~house pharmacies.
From 2007 to 2010, defendant DROBOT and Drobot Senior together owned,
and defendant operated, IPM. From 2010 to at least November 2013,
defendant DROBOT was the majority owner of IPM, and controlled and
directed its operations.

B. RELEVANT LEGISLATION

4. The California Worker’s Compensation System (“CWCS”) was a
system created by California law to provide insurance covering
treatment of injury or illness suffered by individuals in the course
of their employment. Under the CWCS, employers were required to
purchase workers’ compensation insurance policies from insurance
carriers to cover their employees. When an employee suffered a
covered injury or illness and received medical services, the medical
service provider submitted a claim for payment to the relevant
insurance carrier, which then paid the claim. Claims were submitted
to and paid by the insurance carriers either by mail or
electronically. The CWCS was governed by various California laws and

regulations.

 

Case 8:15-cr-OOl55-.]LS Document 8 Filed 12/10/15 Page 38 of 45 Page |D #:59

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5. The California State Compensation Insurance Fund (“SCIF”)
was a non~profit insurance carrier, created by the California
Legislature, which provided workers’ compensation insurance to
employees in California, including serving as the “insurer of last
resort" under the CWCS system for employees without any other
coverage.

6. California law, including but not limited to the California
Business and Professions Code, the California Insurance Code, and the
California Labor Code, prohibited the offering, delivering,
soliciting, or receiving anything of value in return for referring a
patient for medical services,

7. The Federal Employees’ Compensation Act (“FECA”) provided
benefits to civilian employees of the United States, including United
States Postal Service employees, for medical expenses and wage~loss
disability due to traumatic injury or occupational disease sustained
while working as a federal employee. Benefits available to injured
employees included rehabilitation, medical, surgical, hospital,
pharmaceutical, and supplies for treatment of injury. The Department
of Labor (“DOL”) ~ Office of Workers' Compensation Programs (“OWCP”)
was the governmental body responsible for administering the FECA.
When a federal employee suffered a covered injury or illness and
received medical services, the medical service provider submitted a
claim for payment by mail or electronically to Affiliated Computer
Services (“ACS”), located in London, Kentucky, which was contracted
with the DOL to handle such claims. Upon approval of the claim, ACS

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ent payment by mail or electronic funds transfer from the u.s,

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'reasury in Philadelphia, Pennsylvania, to the medical service

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provider.

 

Case 8:15-cr-OOl55-.]LS Document 8 Filed 12/10/15 Page 39 of 45 Page |D #:60

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8. Federal law prohibited the offering, delivering,
soliciting, or receiving of anything of value in return for referring
a patient for medical services paid for by a federal health care
benefit program.

C. OBJECTS OF THE CONSPIRACY

9. Beginning in or around 2007 and continuing to in or around
November 2013, in Orange and Los Angeles Counties, within the Central
District of California, and elsewhere, defendant DROBOT, together
with other co_conspirators known and unknown to the United States
Attorney, knowingly combined, conspired, and agreed to commit the
following offenses against the United States: 18 U.S.C. §§ 1341 and
1346 (Mail Fraud and Honest Services Fraud); 18 U.S.C. § 1952(a)(3)
(lnterstate Travel in Aid of Racketeering Enterprise); 18 U.S.C.

§ 1957 (Monetary Transactions in Property Derived from Specific
Unlawful Activity); and 42 U.S.C. § 1320a~7b(b)(2)(A) (Payment or

Receipt of Kickbacks in Connection with a Federal Health Care

 

Program).
D. MANNER AND MEANS TO ACCOMPLISH THE CONSPIRACY
10. The objects of the conspiracy were to be carried out, and

were carried out, in the following ways, among others:

a. Drobot Senior and other co~conspirators offered to pay
kickbacks to dozens of doctors, chiropractors, marketers, and others
for their referring workers’ compensation patients to Pacific
Hospital for spinal surgeries, other types of surgeries, magnetic

resonance imaging, toxicology, durable medical eguipment, and other

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y through CWCS and the FECA. As of

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services, to be paid pr mar
approximately 2009, for spinal surgeries, kickback recipients were
typically paid 515,000 per lumbar fusion surgery and $10,000 per

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Case 8:15-cr-OOl55-.]LS Document 8 Filed 12/10/15 Page 40 of 45 Page |D #:61

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cervical fusion surgery, provided that the surgeon used in the
surgery hardware supplied by a specified distributor.

b. Influenced by the promise of kickbacks, doctors,
chiropractors, marketers, and others referred patients insured
through the CWCS and the FECA to Pacific Hospital for spinal
surgeries, other types of surgeries, and other medical services, The
workers’ compensation patients were not informed that the medical
professionals had been offered kickbacks to induce them to refer the
surgeries to Pacific Hospital.

c. The surgeries and other medical services were
performed on the referred workers’ compensation patients at Pacific
Hospital.

d. Pacific Hospital submitted claims, by mail and
electronically, to SCIF and other workers’ compensation insurance
carriers for payment of the costs of the surgeries and other medical
services,

e. As defendant DROBOT and the other co~conspirators knew
and intended, and as was reasonably foreseeable to them, in
submitting claims for payment, Pacific Hospital made materially false
and misleading statements to, and concealed material information
from, SCIF and other workers’ compensation insurance carriers,
including that Pacific Hospital did not disclose to the insurance
carriers that it had offered or paid kickbacks for the referral of
the surgeries and other medical services for which it was submitted
claims.

f. The insurance carriers paid Pacific Hospital's claims,

by mail or electronically.

 

Case 8:15-cr-OOl55-.]LS Document 8 Filed 12/10/15 Page 41 of 45 Page |D #:62

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g. Among other means used to pay kickback recipients,
defendant DROBOT, Drobot Senior, and other co~conspirators caused the
Dispensary Management Companies to pay certain doctors and
chiropractors kickbacks for referring patients to Pacific Hospital
for spine surgeries and other services, and used the Dispensary
Management Companies’ contracts with those doctors and chiropractors
to cover up the kickback arrangement.

h. Defendant DROBOT and other co-conspirators recorded
and/or tracked the number of surgeries and other medical services
performed at Pacific Hospital due to referrals from the kickback
recipients, as well as amounts paid to the kickback recipients for
those referrals.

E. EFFECTS OF THE CONSPIRACY

11. Had SCIF and the other workers’ compensation insurance
carriers known the true facts regarding the payment of kickbacks for
the referral of workers’ compensation patients for surgeries and
other medical services performed at Pacific Hospital, they would not
have paid the claims or would have paid a lesser amount.

12. From in or around 2008 to in or around April 2013, Pacific
Hospital billed workers’ compensation insurance carriers
approximately $500 million in claims for spinal surgeries that were
the result of the payment of a kickback; and defendant DROBOT or
other co-conspirators paid kickback recipients between approximately
$20 million and 550 million in kickbacks relating to those claims.

V. OVERT ACTS IN FURTHERANCE OF THE CONSPIRACY

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13. ln urtherance of the conspiracy and to accomplish the
objects of the conspiracy, defendant DROBOT and other co-conspirators
known and unknown to the United States Attorney, committed various

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Case 8:15-cr-00155-.]LS Document 8 Filed 12/10/15 Page 42 of 45 Page |D #:63

l overt acts within the Central District of California, including but

2 not limited to the following:

3 Overt Act No. l:'
4 In or around March 2008, after Drobot Senior caused IPM to pay

5 $60,000 to Surgeon A as a kickback for spinal surgeries Surgeon A
6` performed at Pacific Hospital, defendant DROBOT sought reimbursement

7 for IPM from PSPM for the kickback payment made by IPM.

8 Overt Act No. 22
9 On or about May 12, 2008, Drobot Senior caused IPM to pay

10 $35,000 to Chiropractor A, of which $18,000 represented a kickback
ll for spinal surgeries performed at Pacific Hospital on patients

12 referred by Chiropractor A.

13 Overt Act No. 3:
14 On or about duly 29, 2008, defendant DROBOT sent an email

15 message to Executive A requesting a $60,000 payment from Pacific

16 Hospital to IPM as reimbursement for kickbacks paid by IPM for spinal

17 surgeries performed at Pacific Hospital, including $l8,000 IPM had

18 paid to Chiropractor A in kickbacks.

l9 Overt Act No. 4i
20 On or about March lO, 2009, defendant DROBOT advised Executive B

21 that Surgeon B was estimated to perform three to four spinal
22 surgeries per month at Pacific Hospital on patients referred to
23 Surgeon B by Dr. Philip Sobol, which referrals were caused by

24 kickbacks paid to Dr. Philip Sobol.

25 Overt Act No. 5:
26 On or about June 15, 2011, defendant DROBOT received an email

27 message from Pacific Hosbital CFO James Canedo listing spinal
28 surgeries performed by, among others, Surgeon C, Surgeon D, and

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Case 8:15-cr-OOl55-.]LS Document 8 Filed 12/10/15 Page 43 of 45 Page |D #:64

1 Surgeon E, which were referred to Pacific Hospital by Dr. Philip
2 Sobol, as a result of kickbacks paid to Dr. Philip Sobol.

3 0vert Act No. 6:

»I>

On or about April 30, 2012, defendant DROBOT caused IPM to pay

5 $155,000 to Surgeon F, of which $30,000 represented a kickback for

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spinal surgeries performed at Pacific Hospital, either by Surgeon F

7 or by surgeons to whom Surgeon F referred surgical candidates.

8 Overt Act No. 7:
9 On or about May 24, 2012, defendant DROBOT caused IPM to pay

10 $140,000 to Dr. Philip Sobol, of which $60,000 represented a kickback

ll for spinal surgeries performed at Pacific Hospital, either by Dr.
12 Philip Sobol or by surgeons to whom Dr. Philip Sobol referred

13 surgical candidates.

14 Overt Act No. 8:
15 On or about July 2, 2012, Drobot Senior caused PSPM to pay

16 $23,706.80 to Surgeon 8 for performing surgeries at Pacific Hospital
17 and for referring surgical candidates to Surgeon G for spinal

18 surgeries at Pacific Hospital, including on patients covered by the
19 FECA and CWCS.

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Case 8:15-cr-OOl55-.]LS Document 8 Filed 12/10/15 Page 44 of 45 Page |D #:65

1 COUNT TWO
2 [42 §).s.c. § 1320:;1-76('0><2) (A>l
3 14. Paragraphs one through thirteen of this lnformation are re~

4 alleged and incorporated as if fully set forth herein.

5 15. Beginning in or around 2003 and continuing to in or around
6 November 2013, in Orange and Los Angeles Counties, within the Central
7 District of California, and elsewhere, defendant MICHAEL R. DROBOT,

8 together with other co~conspirators known and unknown to the United

9 States Attorney, knowingly and willfully offered and paid
10 remuneration, that is, cash and checks, directly and indirectly, to
ll person to induce those persons to refer individuals to Pacific
12 Hospital for spinal surgery and other medical services for which
13 payment could be made in whole and in part under a Federal health

14 care program, namely, the FEC`.

15
16 EILEEN M. DECKER

United States Attorney
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18
19 LAWRENCE S. MIDDLETON

Assistant United States Attorney
20 Chief, Criminal Division
21 DENNISE D. WILLETT

Assistant United States Attorney
22 _ Chief, Santa Ana Branch Office
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SCOTT D. TENLEY
25 Assistant United States Attorney
26 ASHWIN JANAKIRAM

Special Assistant United States
27 Attorney
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Case 8:15-cr-OOl55-.]LS Document 8 Filed 12/10/15 Page 45 of 45 Page |D #:66

CERTIFICATE OF SERVICE

1 am a citizen of the United States and a resident of Orange County,
California. I am over 18 years of age, and I am not a party to the above-
entitled action. My business address is the United States Attorney's Office,
Ronald Reagan Federal Building and United States Courthouse, 411 West Fourth
Street, Suite 8000, Santa Ana, California 92701.

On this date, December 10, 2015, I served conformed copies of the
documents filed on December 10, 2015 on defense counsel representing this
defendant. Said service was conducted in the following manner:

by placing a true copy in a sealed envelope, addressed to the
person specified below, and placing it for interoffice delivery within the

courthouse:

by placing the document in a sealed envelope, addressed as
follows and with postage placed thereon, and placing it for delivery via the

U.S. Postal Service:

by fax to the person and fax number specified below:

X by e-mailing a pdf. version of the documents to the e-mail

address of said defense counsel:

I declare under penalty of perjury that the foregoing is true and

correct, executed on December lO, 2015, at Santa Ana, California.

%/

CRIsTY\FrLLoN

 

